                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

UNITED STATES OF AMERICA                            )
                Plaintiff,                          )
                                                    )
               v.                                   )       CASE NO. DNCW 3:05CR277-11
                                                    )       (Financial Litigation Unit)
JASON B. ROCHE,                                     )
                      Defendant,                    )
and                                                 )
                                                    )
LANCASTER DODGE CHRYSLER JEEP,                      )
                                                    )
                      Garnishee.                    )

                         DISMISSAL OF WRIT OF GARNISHMENT

        Upon motion of the United States for the reasons stated therein and for good cause shown,

it is ORDERED that the Writ of Garnishment as to Lancaster Dodge Chrysler Jeep, filed in this case

on March 25, 2010, against the defendant Jason B. Roche is DISMISSED.

                                                Signed: August 10, 2010




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